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  8
  9                                  UNITED STATES DISTRICT COURT
 10                                SOUTHERN DISTRICT OF CALIFORNIA
 11
 12 CERTIFIED NUTRACEUTICALS,                       Case No. 3:18-CV-00744-W-KSC
    INC., a California corporation,
 13                                                 Judge:
                 Plaintiff,
 14                                                 AVICENNA NUTRACEUTICAL,
           vs.                                      LLC’S OBJECTIONS TO
 15                                                 DECLARATION OF AHMAD
    THE CLOROX COMPANY, a Delaware                  ALKAYALI IN SUPPORT OF
 16 Corporation; NEOCELL                            PLAINTIFF’S OPPOSITION TO
    CORPORATION, a California                       MOTION FOR SUMMARY
 17 Corporation; NEOCELL HOLDING                    JUDGMENT
    COMPANY, a Delaware Limited
 18 Liability Company; NUTRANEXT, a                 [Filed concurrently with Reply in Support
    Delaware Corporation; AVICENNA                  of Defendant’s Motion for Summary
 19 NUTRACEUTICAL, LLC, a Georgia                   Judgment, Supplemental Declaration of
    Limited Liability Company; and DOES 1           Michael Adams]
 20 through 10, inclusive,
 21                          Defendants.
 22
 23             Defendant Avicenna Nutraceutical, LLC (“Avicenna”) hereby objects to the
 24 evidence presented by Plaintiff Certified Nutraceuticals, Inc. (“Certified”) in
 25 connection with Certified’s Opposition to Avicenna’s Motion for Summary
 26 Judgment or, in the Alternative, Partial Summary Judgment (the “Opposition” [Dkt.
 27 126]), specifically Paragraph 5 of the Declaration of Ahmad Alkayali (the “Alkayali
 28 Decl.” [Dkt. 126-1]), and moves to strike the same.
                                                              AVICENNA NUTRACEUTICAL, LLC’S
      2945/034137-0003
                                                               OBJECTIONS TO DECLARATION OF
      15623896.1 a10/12/20                        -1-                       AHMAD ALKAYALI
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  1 I.          INTRODUCTION
  2             Paragraph 5 of the Alkayali Declaration claims corrective advertising
  3 expenses as actual injury suffered by Certified, although Certified never claimed this
  4 purported injury in its interrogatory responses or in its initial disclosures.
  5 Certified’s failure to disclose this damages claim precluded Avicenna from
  6 investigating and challenging it. Thus, pursuant to Rule 37(c), Avicenna requests
  7 that the Court strike Paragraph 5 of the Alkayali Declaration.
  8 II.         EVIDENTIARY MATERIAL TO WHICH AVICENNA OBJECTS
  9             Avicenna objects to and moves to strike Paragraph 5 of the Alkayali
 10 Declaration, which provides in full as follows:
 11             Similarly, if Mr. Zimmer had picked the time period from 2014
 12             through 2019 as the relevant time period, it also would have shown
                an increase in Advertising & Promotion expenditures. In 2014,
 13             Certified Nutraceuticals’ expenditures on Advertising & Promotion
 14             was $55,579. (Zimmer Report at p. 5.) If this spending had
                remained constant, the total expenditures from 2014 through 2019
 15
                would have been $333,474 [6 * $55,579]. In reality, because
 16             Certified Nutraceuticals had to combat the false advertising by the
 17             Clorox Defendants and Avicenna, Certified Nutraceuticals was
                required to spend $456,972 on Advertising & Promotion from
 18
                2014 through 2019. (Zimmer Report at p. 5.) This was an increase
 19             of $123,498, or 37% more than Certified Nutraceuticals would
 20             have spent on Advertising & Promotion if the expenditures had
                remained at 2014 levels from 2014 through 2019. I attribute this
 21
                increase in spending to a conscious effort by Certified
 22             Nutraceuticals to educate consumers about the benefits of Certified
 23             Nutraceuticals’ collagen products that was required by the Clorox
                Defendants’ and Avicenna’s wrongful false advertising.
 24
 25 (Alkayali Decl., ¶ 5.) In short, the Alkayali Declaration claims corrective
 26 advertising expenses as actual injury suffered by Certified.
 27 III.        GROUNDS FOR OBJECTION

 28             Rule 26(e) of the Federal Rules of Civil Procedure provides that litigants have
                                                                AVICENNA NUTRACEUTICAL, LLC’S
      2945/034137-0003
                                                                 OBJECTIONS TO DECLARATION OF
      15623896.1 a10/12/20                         -2-                        AHMAD ALKAYALI
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  1 a continuing duty to supplement all interrogatory responses under Rule 33 if their
  2 prior responses are either incomplete or incorrect. Fed. R. Civ. P. 26(e)(1) (“A party
  3 who has made a disclosure under Rule 26(a)—or who has responded to an
  4 interrogatory, request for production, or request for admission—must supplement or
  5 correct its disclosure or response: (A) in a timely manner if the party learns that in
  6 some material respect the disclosure or response is incomplete or incorrect . . .”).
  7 Rule 37 provides that “[i]f a party fails to provide information or identify a witness
  8 as required by Rule 26(a) or (e), the party is not allowed to use that information or
  9 witness to supply evidence on a motion, at a hearing, or at a trial, unless the failure
 10 was substantially justified or is harmless.” Fed. R. Civ. P. 37(c)(1).
 11             In response to Avicenna’s Interrogatory No. 13 (“State all facts and
 12 IDENTIFY all PERSONS with information to support YOUR contention, as alleged
 13 in paragraph 36 of the COMPLAINT, that YOU have ‘suffered both an
 14 ascertainable economic loss of money and reputational injury by the aforementioned
 15 scheme.’”), Certified responded under oath, in part, as follows:
 16             Plaintiff suffered an ascertainable economic loss of money because
 17             customers seeking to purchase chicken sternal collagen choose to
                purchase from Avicenna instead of Plaintiff due to the fact that
 18             Avicenna sells its products at a lower cost. As such, Plaintiff has
 19             suffered a loss of these sales since one of only a few suppliers in
                the market.
 20
 21             Because Defendants Subject Products contain a cheap and less
                effective collagen, Plaintiff risks damages to its reputation when
 22
                Defendants collagen product does not work as it is advertised.
 23             Avicenna’s customers will stop continuing to purchase chicken
 24             sternal collagen (thereby injuring Plaintiff) because they will
                believe chicken sternal collagen is not effective (since Avicenna’s
 25
                is not in fact effective).
 26
      (Declaration of Michael Adams in support of Avicenna’s Motion for Summary
 27
      Judgment [“Adams Decl.”], ¶ 23, Ex. V at p.p. 10-11.) Certified did not claim
 28
                                                                AVICENNA NUTRACEUTICAL, LLC’S
      2945/034137-0003
                                                                 OBJECTIONS TO DECLARATION OF
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  1 corrective advertising expenses as actual injury in its interrogatory responses or in
  2 its initial disclosures, nor did it amend those responses to include such expenses.
  3             Accordingly, Certified cannot claim corrective advertising expenses as actual
  4 injury in its Opposition, and Paragraph 5 of the Alkayali Declaration must be
  5 stricken. See, e.g., Cambridge Electronics Corp. v. MGA Electronics, Inc., 227
  6 F.R.D. 313, 323 (C.D. Cal. 2004) (holding that in opposing summary judgment
  7 plaintiff cannot rely on fact disclosed “[n]either in its original interrogatory answers,
  8 nor in any Rule 26(e) supplement,” when “the testimony [the declarant] now
  9 proffers was available to plaintiff at the time it answered the interrogatories
 10 defendants propounded”).
 11             Had Certified identified corrective advertising expenditures in its
 12 interrogatory responses, then Avicenna could have investigated and challenged this
 13 claim – for example, via the deposition of Alkayali or Avicenna’s expert report of
 14 Brian Bergmark. See, e.g., Cambridge Electronics Corp., 227 F.R.D. at 325 (“Had
 15 plaintiff disclosed this alleged conversation during discovery, defendants could have
 16 investigated the information, and perhaps deposed [the declarant]. Plaintiff did not,
 17 however, and defendants have no way to rebut or explain the evidence at this
 18 point.”); Sutrisno v. WebMD Practice Services, Inc., No. CV 04–4516, 2005 WL
 19 8154571, at *8-10 (C.D. Cal. June 30, 2005) (finding prejudice from plaintiff’s
 20 failure to disclose damages theory in interrogatories and excluding evidence).
 21             For example, Avicenna could have challenged whether the alleged corrective
 22 advertising expenses were to correct advertising by Avicenna or Clorox. Each has
 23 very different customers: Avicenna sells to nutraceutical companies while Clorox
 24 sells to end users. Thus, the alleged corrective advertising would be targeted to
 25 different audiences and would therefore be placed in different advertising media.
 26 Avicenna could have challenged whether the alleged corrective advertising was to
 27 correct the term Avicenna used to describe its product prior to January 2018 versus
 28 after that date; i.e., “Avian (Chicken) Sternum Cartilage” versus “Chicken (Avian)
                                                                AVICENNA NUTRACEUTICAL, LLC’S
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                                                                 OBJECTIONS TO DECLARATION OF
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  1 Full Frame Sternum Cartilage.” Because Mr. Alkayli testifies that the latter term
  2 “makes no sense” and that he had “never heard that term” prior to his deposition in
  3 August 2020, it is unclear what corrective advertising Certified would have
  4 conducted after January 2018 to correct a term he had never heard. Further,
  5 Avicenna could have challenged whether the alleged corrective advertising was to
  6 correct explicit advertising of a product as “100%,” which Certified purports to
  7 show is a term Clorox used, whereas it is undisputed Avicenna never advertised its
  8 product as “100%.”
  9             In short, Certified conveniently attributes its entire increase in advertising
 10 expenditure over a five year period to corrective advertising supposedly needed to
 11 correct advertising by “Clorox and Avicenna,” but fails to identify any corrective
 12 advertising he actually conducted, whose advertising was being corrected, or what
 13 advertising statements were being corrected. Certified’s failure to disclose
 14 corrective advertising expenses as alleged actual injury in discovery precluded
 15 Avicenna from challenging Mr. Alkayali’s conclusory, unsupported and speculative
 16 testimony. As such, Certified’s failure to disclose this damages theory has
 17 prejudiced Avicenna.
 18             Therefore, pursuant to Rule 37(c), Avicenna respectfully requests that the
 19 Court strike Paragraph 5 of the Alkayali Declaration.
 20 Dated:                                           RUTAN & TUCKER, LLP
                                                     MICHAEL D. ADAMS
 21                                                  SETH M. JESSEE
                                                     SARAH GILMARTIN
 22
 23                                                  By:        /s/ Michael D. Adams
                                                           Michael D. Adams
 24                                                        Attorneys for Defendant
                                                           Avicenna Nutraceutical, LL
 25
 26
 27
 28
                                                                  AVICENNA NUTRACEUTICAL, LLC’S
      2945/034137-0003
                                                                   OBJECTIONS TO DECLARATION OF
      15623896.1 a10/12/20                          -5-                         AHMAD ALKAYALI
